This action was brought by plaintiffs against John Fannen and James Maguire, administrator of the estate of Bridget McDermott, deceased, to quiet title to certain land. Judgment passed for defendants. Plaintiffs appeal from this judgment and from the order dismissing their motion for a new trial. The appeal from the judgment is upon the judgment-roll alone. The findings are within the issues joined by the pleadings and fully support the judgment. This appeal, therefore, is without merit.
There is nothing in the transcript to support the appeal from the order dismissing the motion for a new trial. It appears from the records of this court that appellants made an effort here by mandate to compel the settlement of a bill of exceptions by the trial court, but their application for mandate was refused.(Galvin v. Hunt, 153 Cal. 103, [94 P. 423].) So the appeal from the order is also without merit.
The judgment and order appealed from are, therefore, affirmed.
Shaw, J., Sloss, J., Angellotti, J., and Lorigan, J., concurred. *Page 775 